UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

UNITED STATES OF AMERICA,

     -against-                    Case No. S4 23-cr-490 (SHS)

ROBERT MENENDEZ et al.,

                 Defendants.



  SENATOR ROBERT MENENDEZ’S REPLY IN SUPPORT OF HIS RULE 29 AND
                       RULE 33 MOTIONS



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                                                   TABLE OF CONTENTS

                                                                                                                                     Page


INTRODUCTION .......................................................................................................................... 1

ARGUMENT .................................................................................................................................. 2

     I.     THE GOVERNMENT FAILED TO PROVE VENUE AS TO SIXTEEN COUNTS OF
            CONVICTION .................................................................................................................. 2




     II. THE COURT SHOULD VACATE THE BRIBERY CONVICTIONS BECAUSE THE
         GOVERNMENT FAILED TO SHOW A PROMISE BY SENATOR MENENDEZ TO
         USE OFFICIAL POWERS IN EXCHANGE FOR A BRIBE........................................ 15

     III. THE CONVICTIONS MUST BE VACATED BECAUSE THEY DEPEND ON
          EVIDENCE THAT VIOLATED SPEECH OR DEBATE CLAUSE PROTECTIONS 21

     IV. THE EVIDENCE INTRODUCED WAS INSUFFICIENT AS A MATTER OF LAW
         TO CONVICT SENATOR MENENDEZ ON THE OBSTRUCTION OF JUSTICE
         COUNTS (COUNTS 4, 17, AND 18) ............................................................................. 25

CONCLUSION ............................................................................................................................. 28




                                                                     1
                                               TABLE OF AUTHORITIES

                                                                                                                              Page(s)
CASES

Government of Virgin Islands v. Lee,
   775 F.2d 514 (3d Cir. 1985).....................................................................................................23

Gravel v. United States,
   408 U.S. 606 (1972) .................................................................................................................21

In re Sealed Case,
    80 F.4th 355 (D.C. Cir. 2023) ......................................................................................21, 22, 24

McDonnell v. United States,
  579 U.S. 550 (2016) .................................................................................................................15

U.S.A. v. Greenhut,
   No. 2:15-CR-00477-CAS-1, 2016 WL 6652681 (C.D. Cal. Nov. 8, 2016) ..............................3

United States v. Aguilar,
   515 U.S. 593 (1995) ...............................................................................................25, 26, 27, 28

United States v. Beech-Nut Nutrition Corp.,
   871 F.2d 1181 (2d Cir. 1989).............................................................................................3, 5, 6

United States v. Biaggi,
   853 F.2d 89 (2d Cir. 1988).......................................................................................................23

United States v. Boruch,
   550 F. App’x 30 (2d Cir. 2013) .............................................................................................8, 9

United States v. Davis,
   689 F.3d 179 (2d Cir. 2012)...........................................................................................3, 4, 8, 9

United States v. Fassnacht,
   332 F.3d 440 (7th Cir. 2003) ...................................................................................................26

United States v. Fortenberry,
   89 F.4th 702 (9th Cir. 2023) ....................................................................................................15

United States v. Gross,
   No. 15 Cr. 769 (AJN), 2017 WL 4685111 (S.D.N.Y. Oct. 18, 2017) .......................................6

United States v. Helstoski,
   442 U.S. 477 (1979) ...........................................................................................................21, 24

United States v. Jefferson,
   674 F.3d 332 (4th Cir. 2012) .....................................................................................................5


                                                                    1
United States v. Jones,
   393 F.3d 107 (2d Cir. 2004).....................................................................................................20

United States v. Lee,
   919 F.3d 340 (6th Cir. 2019) .............................................................................................16, 17

United States v. Mangano,
   No. 16 Cr. 540 (JMA), 2022 WL 2872670 (E.D.N.Y. July 20, 2022) ....................................26

United States v. Mennuti,
   679 F.2d 1032 (2d Cir. 1982).....................................................................................................7

United States v. Pace,
   314 F.3d 344 (9th Cir. 2002) .....................................................................................................4

United States v. Palma-Ruedas,
   121 F.3d 841 (3d Cir. 1997).....................................................................................................15

United States v. Pauling,
   924 F.3d 649 (2d Cir. 2019)...................................................................................................1, 2

United States v. Purcell,
   967 F.3d 159 (2d Cir. 2020)...................................................................................................8, 9

United States v. Quattrone,
   441 F.3d 153 (2006) ...........................................................................................................25, 26

United States v. Ramirez,
   420 F.3d 134 (2d Cir. 2005)...............................................................................................3, 4, 5

United States v. Rodriguez-Moreno,
   526 U.S. 275 (1999) ...............................................................................................................3, 4

United States v. Rommy,
   506 F.3d 108 (2d Cir. 2007).....................................................................................................10

United States v. Royer,
   549 F.3d 886 (2d Cir. 2008).....................................................................................................14

United States v. Schwarz,
   283 F.3d 76 (2d Cir. 2002).................................................................................................25, 26

United States v. Shepard,
   500 F. App’x 20 (2d Cir. 2012) .............................................................................................8, 9

United States v. Stephenson,
   895 F.2d 867 (2d Cir. 1990).......................................................................................................6




                                                                    2
United States v. Sutherland,
   921 F.3d 421 (4th Cir. 2019) ...................................................................................................26

United States v. Tzolov,
   642 F.3d 314 ........................................................................................................................5, 14

United States v. Wey,
   No. 15 Cr. 611 (AJN), 2017 WL 237651 (S.D.N.Y. Jan. 18, 2017)..........................................7

United States v. White,
   887 F.2d 267 (D.C. Cir. 1989) ...................................................................................................7

Woods v. Centro of Oneida, Inc.,
  103 F.4th 933 (2d Cir. 2024) .................................................................................................1, 3

STATUTES

18 U.S.C. § 201 ................................................................................................................................3

18 U.S.C. § 1512(i) ..................................................................................................................13, 14

18 U.S.C. § 1951 (b)(2) ...................................................................................................................4

22 U.S.C. § 611(c)(1).....................................................................................................................13




                                                                       3
                                           INTRODUCTION

        The government’s 149-page opposition brief (ECF 611, the “Opposition”) manages

somehow still to evade the core problems with Senator Menendez’s conviction: it is based, in

large part, on rank speculation that was urged upon the jury by the prosecutors. The government

relied on such speculation to overcome the gaping holes in its proof as to the most fundamental

aspects of its case—from venue to whether Senator Menendez agreed to a quid pro quo bribe in

exchange for official action. Speculation cannot substitute for evidence and fair inference,

neither at trial nor in post-trial briefing.

        For example, in defending against the Senator’s venue challenge, the government

repeatedly relies on speculation that certain in-District conduct was foreseeable to Senator

Menendez. Such speculation is no more appropriate in deciding venue than it is in deciding

whether the substantive elements of each offense have been met. Indeed, the Opposition

implores this Court to simply ignore the law on venue. Venue “is not dispensed in gross.”

Woods v. Centro of Oneida, Inc., 103 F.4th 933, 940 (2d Cir. 2024). Try as it might, the

government cannot satisfy venue requirements by grouping the counts and finding some

connection to the District for each group. Venue requires more: an analysis of the “essential

conduct elements” for each charge of bribery, extortion, and honest services wire fraud. The

government did not even attempt to conduct such an analysis for each count, as any such analysis

shows that venue in this District was improper.

        The government advances similar erroneous arguments throughout its Opposition,

claiming that Senator Menendez’s conviction was proper because the jury was permitted to infer

inculpatory facts, despite clear law that a fair inference is not rank speculation. Nor is it ipse

dixit. In the Second Circuit, a fair inference is “a reasoned, logical decision to conclude that a

disputed fact exists on the basis of another fact that is known to exist.” United States v. Pauling,


                                                  1
924 F.3d 649, 656 (2d Cir. 2019). The “evidence” supporting Senator Menendez’s convictions

simply does not meet this standard: for example, the government can point to no evidence

supporting the reasoned inference that Senator Menendez intended to interfere with any grand

jury or judicial proceeding, which Second Circuit precedent requires to support a conviction.

         Nor does the Opposition offer any cure for the government running roughshod over the

Senator’s constitutionally protected Speech or Debate privilege. In reality, even reviewing the

record in the government’s favor, the evidence simply does not support any reasoned inference

that Senator Menendez did—or even promised to—use his official powers in exchange for a

bribe.

         Vacatur is admittedly a high bar. But it is met here, as reflected in the government’s

attempt to substitute 149 pages of hot air for a legally indefensible record. For the reasons cited

in Senator Menendez’s opening brief and detailed further below, the law requires that the

conviction of Senator Menendez on all counts be vacated, or at a minimum, that a new trial be

ordered.

                                          ARGUMENT1

I.       THE GOVERNMENT FAILED TO PROVE VENUE AS TO SIXTEEN COUNTS
         OF CONVICTION

         The government’s Opposition only underscores how insufficient its evidence of venue

was at trial. The government’s feeble effort to overcome Senator Menendez’s venue challenge is

underscored by the fact that it both ignores the more stringent venue standards applicable to

substantive counts and engages in rank speculation throughout. Indeed, the government’s




1
 Senator Menendez incorporates in full the arguments raised in co-defendants Wael Hana’s and
Fred Daibes’ respective reply memoranda of law in further support of their motions under
Federal Rules of Criminal Procedure 29 and 33.


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arguments elide that venue must be established as to every single count based on the essential

conduct elements for each charge. See United States v. Beech-Nut Nutrition Corp., 871 F.2d

1181, 1188 (2d Cir. 1989) (“[V]enue must be proper with respect to each count.”); United States

v. Davis, 689 F.3d 179, 185 (2d Cir. 2012) (“Where, as here, a defendant is charged with

multiple crimes in a single indictment, the government must satisfy venue with respect to each

charge.”) (citations omitted). Like standing, venue “is not dispensed in gross.” Woods, 103

F.4th at 940. But that’s precisely what the government attempts to do in its Opposition, grouping

its venue arguments into three categories—“Counts Related to Egypt,” “Counts Related to the

New Jersey Attorney General’s Office,” and “Counts Related to Daibes’s Federal Prosecution

and Qatar”—without even conducting an analysis of the “essential conduct elements” for the

various charges of bribery, extortion, and honest services wire fraud. Each of those charges has

separate essential conduct elements that must guide the Court’s analysis for venue:

       Bribery: the “essential conduct element” for bribery under 18 U.S.C § 201 requires the

Court to determine the location where a bribe was demanded, sought, received, accepted, or

agreed to be received or accepted in the district of the prosecution. See 18 U.S.C. § 201

(b)(2)(A), (C); see also United States v. Ramirez, 420 F.3d 134, 144 (2d Cir. 2005) (quoting

United States v. Rodriguez-Moreno, 526 U.S. 275, 279 (1999)) (determining the essential

conduct element of an offense requires identifying where the “physical ‘conduct constituting the

offense’ took place”); cf. U.S.A. v. Greenhut, No. 2:15-CR-00477-CAS-1, 2016 WL 6652681, at

*7 (C.D. Cal. Nov. 8, 2016) (noting that, for purposes of venue, the “essential conduct element

of § 201(c)(1)(A) is the giving, offering, or promising of a thing of value”).

       Extortion: for Hobbs Act extortion, venue can only lie in the district where interstate

commerce is foreseeably affected or where the acts constituting the crime took place. Davis, 689




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F.3d at 186. If venue is based upon the district where interstate commerce was affected, the

evidence must show that the “defendant knew or reasonably should have foreseen that interstate

commerce would have been affected in” that specific district. See id. at 187. The act

constituting the crime of extortion is to “obtain[] property from another . . . under color of

official right.” See 18 U.S.C. § 1951 (b)(2).

       Honest services wire fraud: the “essential conduct element” for wire fraud requires the

Court to analyze the location where a wire in furtherance of the charged fraud emanated from or

ended in. Cf. Ramirez, 420 F.3d at 145 (quoting Rodriguez-Moreno, 526 U.S. at 280) (finding

that the essential conduct element of mail fraud for venue is where defendant “‘places,’

‘deposits,’ ‘causes to be deposited,’ ‘takes,’ or ‘receives’ mail, or ‘knowingly causes’ mail ‘to be

delivered,’” and not where the scheme to defraud was devised). The district where the alleged

scheme to defraud is devised cannot alone support venue for a wire fraud count in the absence of

in-district wires. United States v. Pace, 314 F.3d 344, 349 (9th Cir. 2002) (finding that venue for

wire fraud was improper in the district where the scheme to defraud was devised because

“although a fraudulent scheme may be an element of the crime of wire fraud, it is using wires

and causing wires to be used in furtherance of the fraudulent scheme that constitutes the

prohibited conduct.”).

               The Government Has Not Supported Venue For the Various Counts Related
               To The Hana-Egypt Charges (Counts 5, 7, 8)

       In attempting to defend venue on its “Counts Related to Egypt,” the government ignores

the essential conduct element for each of the various substantive charges. For example, the

government identified no evidence that Senator Menendez sent or received a wire to or from this

District in furtherance of the alleged wire fraud charge (Count 7), or that he caused others to do




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so, or that such wires were foreseeable to him.2 The only in-district wire the government

identified supporting this charge is Hana’s WhatsApp message to Shawky during a dinner with

Senator Menendez in Manhattan. But that message was, at most, a preparatory act, not essential

conduct, for the offense. See Beech-Nut Nutrition Corp., 871 F.2d at1190 (“venue is not proper

in a district in which the only acts performed by the defendant were preparatory to the offense

and not part of the offense”); see also United States v. Tzolov, 642 F.3d 314, 318 (finding venue

improper for securities fraud in the district where the defendant boarded flights to meetings in

which he made fraudulent statements because defendant did “not transmit any false or

misleading information into or out of the Eastern District.”). The government seemingly

concedes as much. Opp. at 69 (WhatsApp message was used to schedule a later Washington

D.C. meeting that “precipitated Menendez’s promise to approve sale of tank ammunition.”).

       As to the extortion and bribery counts relating to Hana and Egypt (Counts 5 and 8), the

government relies on the June 30, 2018 dinner at Mr. Chow restaurant in Manhattan. But the

government cannot show any of the essential conduct relating to extortion or bribery occurred at

this dinner. Indeed, the government has not shown any evidence of a discussion of a bribe at the

dinner or even discussion of a promise to approve the sale of tank ammunition. At most, the

government has shown that Hana sent a message at this dinner to move the timing of a different,

pre-scheduled meeting (in Washington D.C.) that then precipitated a supposed promise to

approve the sale of tank ammunition. Perhaps more puzzling about the government’s theory is

the fact that the Washington D.C. meeting was already scheduled prior to the dinner at Mr.



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  Nor can alleged “concealment of the source of the gold” establish venue for wire fraud (Opp. at
72 n.13); while a false statement may be an element of wire fraud, it is not “an essential conduct
element for purposes of establishing venue” for wire fraud. Ramirez, 420 F.3d at 145; United
States v. Jefferson, 674 F.3d 332, 366 (4th Cir. 2012).


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Chow and the message from Hana in Manhattan was simply moving the meeting earlier by one

day. See GX C407; GX C206-3, GX C206-3T. Nor can the government’s self-serving and

illogical claim that this meeting was “necessary” to the scheme—which the government does not

elaborate on—undermine the obvious conclusion that the Mr. Chow dinner was a classic

“preparatory” act that cannot sustain venue. Beech-Nut Nutrition Corp., 871 F.2d at 1190. The

fact that the dinner was temporally antecedent to a later dinner does not make it “necessary.”

Indeed, contrary to Gross, nothing about the Mr. Chow dinner or the message from Hana at that

dinner were “crucial components of [] the bribery scheme.” See United States v. Gross, No. 15

Cr. 769 (AJN), 2017 WL 4685111, at *39 (S.D.N.Y. Oct. 18, 2017) (quoting United States v.

Stephenson, 895 F.2d 867, 874 (2d Cir. 1990)).

       The government also claims that venue for the Hana/Egypt scheme generally is proper

because “Menendez, Daibes, and Helmy met at a hotel in Manhattan to discuss rewarding Daibes

with business ventures with Egypt.” Opp. at 69. But Egyptian real estate investments with

Daibes were never part of any charged bribery scheme, or even referenced in the Indictment. It

had nothing to do with the charged offense, and the government’s effort to link these two events

only exposes how weak the government’s evidence to support venue truly was.3 Nor is there any

allegation that Menendez did anything improper to further some alleged business venture

between Daibes and Helmy—and no such venture ever materialized.




3
  The government’s reliance on Gross, No. 15 Cr. 769 (AJN), 2017 WL 4685111, at *38, is
misplaced. Opp. at 76. There, the evidence supporting venue consisted of emails sent from the
Southern District of New York that “la[id] the groundwork for” the bribe by obtaining key
information from each board member needed to ensure their nomination and election. Unlike the
emails there, where the contents of the communication were known and thus could be deemed
essential to the bribery scheme, there is no evidence of what actually was discussed in the hotel
meetings that would permit a finding that the meetings were essential to any bribery scheme.


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       Next, the government alleges that venue is proper for the “Counts Related to Egypt”

because “Daibes provided free transportation to Menendez and Nadine Menendez through

Manhattan on their way back from a trip to Egypt.” Opp. at 69. The government suggests that

this transportation was a “thing[] of value” that would suffice as essential conduct underlying the

Egypt bribery schemes. The suggestion that a $50 or $100 ride from the airport was a bribe that

resulted in official acts is risible, and only exposes how thin the government’s venue evidence is.

There simply is no evidence apart from the government’s rank speculation that anything

occurred on this ride in the Southern District of New York that furthered a bribery scheme.

       Finally, the government argues that the sale of gold bars through Vasken Khorozian, who

later traveled to Manhattan to convert the gold to cash, supported venue in this District. But the

government charged Senator Menendez with extorting gold bars from Daibes and receiving the

gold bars as bribes. Once Nadine obtained the gold bars with the requisite intent, the alleged

crimes were completed. The government does nothing to grapple with United States v. Mennuti,

679 F.2d 1032, 1035 (2d Cir. 1982), which support that the resale of the property is not an overt

act in furtherance of the scheme. Both bribery and extortion were completed crimes once the

object of those alleged schemes (e.g., gold) was obtained. See United States v. White, 887 F.2d

267, 272 (D.C. Cir. 1989) (Ginsburg, J.) (bribery “is completed upon the public officer’s receipt

or agreement to receive payments for an official act.”).4 Even if the resale of the bars was part of

the scheme, those bars were first sold by Nadine in New Jersey. But in any event, the

government doesn’t muster evidence of Senator Menendez’s involvement in or knowledge of

these gold bar sales. See Tr. 5136, 5141, 5147 (Mr. Khorozian acknowledging that he never


4
  The government’s reliance on United States v. Wey, No. 15 Cr. 611 (AJN), 2017 WL 237651,
at *4 (S.D.N.Y. Jan. 18, 2017), is misplaced because there, unlike here, the liquidation of the
stock was part of the scheme to artificially inflate the stock price.


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spoke to Senator Menendez about any gold sales whatsoever). As such, “no reasonable jury

could find, based on a preponderance of the evidence presented at trial, that [Senator Menendez]

committed within the Southern District of New York any conduct essential to the offense.”

United States v. Purcell, 967 F.3d 159, 190 (2d Cir. 2020).

               The Government Has Not Shown Any Foreseeable Essential Conduct
               Occurred In This District Related To The Uribe Bribery Charges (Counts 9
               and 10)

       The government argues that prosecution in this district was permissible for the “Counts

Related to the New Jersey Attorney General’s Office” for three reasons, Opp. at 73, but each

fails to establish any foreseeable essential conduct occurred in this District.

       First, the government’s claim that Uribe’s phone call to Barruos in the Bronx and the car

payments Barruos’ made from the Bronx were foreseeable to Senator Menendez because of the

“proximity of districts covering the New York metropolitan area” is off-base. New Jersey is not

“the New York metropolitan area,” but an entirely separate state (and judicial district), and none

of the government’s cited cases stand for the proposition that a New Jersey resident should

predict New York conduct due to their proximity. Indeed, any such claim collapses under its

own weight, as it would largely render venue proper for any criminal scheme in the tristate area.

Indeed, unlike the cases the government cites,5 there was no evidence that Senator Menendez had




5
  In each of the government’s cited cases, the co-conspirator’s New York conduct was
foreseeable given the defendant’s specialized knowledge of the co-conspirator and/or his
transportation through the New York metropolitan area. See, e.g., United States v. Boruch, 550
F. App’x 30, 33 (2d Cir. 2013) (transportation of cash to Brooklyn and Queens likely touched
Manhattan); United States v. Shepard, 500 F. App’x 20, 23 (2d Cir. 2012) (transporting drugs
from New Jersey to Brooklyn likely involved travel through the District); Davis, 689 F.3d at
188-89 (that defendants with experience robbing drug dealers in the Bronx could reasonably
infer that a drug dealer who lived near the Bronx likely dealt at least some drugs there).


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any knowledge of Barruos’ existence at all, let alone where he resided or his involvement in the

alleged scheme.

        Next, the government posits a new theory (never presented to the jury in summation) that

Nadine Menendez must have traveled through the District with alleged bribe payments from

Uribe because she deposited them in Long Island. Opp. at 73. But there are four problems with

this late-breaking theory. First, money is fungible and there is no evidence that the funds

deposited in Nadine’s account in Munsey Park were bribe payments, as opposed to other cash

she had on hand. Second, there is no evidence that Senator Menendez was aware of this travel

and deposit in Long Island, or that it was foreseeable to him. Third, in the absence of actual

travel records, the Court cannot presume that she traveled through the Southern District to get to

Long Island. See, e.g., Purcell, 967 F.3d at 187–90 (stating that an “argument . . . based on

speculation rather than evidence” cannot support venue). Indeed, New Jerseyans will often

travel through Staten Island to get to Brooklyn or Long Island to avoid traffic in the Southern

District.

        In any event, travel through a district en route to another district does not establish the

essential conduct for any of the substantive offenses of wire fraud and extortion.6

        Nor can the telephone calls or text messages from Nadine to Uribe or to Senator

Menendez possibly sustain venue. The government claims that these communications establish


6
 The government’s reliance on Boruch, 550 F. App’x at 33, and Shepard, 500 F. App’x at 23, is
misplaced because neither of these cases contain the same essential conduct elements applicable
here. Boruch analyzed the propriety of venue for conspiracy to defraud the United States.
Shepard concerned venue for a drug conspiracy. Moreover, while the Hobbs Act analysis in
United States v. Davis considered the effect on interstate commerce in a district, the Second
Circuit implicitly rejected the theory that venue lies in every district where commerce is affected.
Davis, 689 F.3d at 188–89 (2d Cir. 2012). Instead, the Court held that the effect on interstate
commerce in a particular district must be known or reasonably foreseeable to the defendant to
sustain venue. Id. The government has failed to make this showing.


                                                  9
venue because they “connected to cell towers in this district.” See Opp. at 73. Notwithstanding

the fact that the government’s own expert confirmed that Nadine was “[m]ost likely in New

Jersey” around the time the message was sent (Tr. 5436) and presented zero evidence that

showed Uribe (a New Jersey resident) was in New York when he received those messages, the

fact that a call or text signal merely pings a cell tower in a specific district is insufficient to

establish venue. See United States v. Rommy, 506 F.3d 108, 122 (2d Cir. 2007) (“[T]he overt act

may properly be understood to have occurred at the site where the listener receives the

conspirator’s message.”). In any event, there was no evidence that it was reasonably foreseeable

to Senator Menendez that a text message from a New Jersey resident to another resident of New

Jersey would ping off a cell tower in New York.

                The Government Has Not Shown Any Essential Conduct Occurred In This
                District Related To The Daibes Bribery Scheme (Counts 11, 13, 14)

        The government argues that venue is satisfied for “Counts Related to Daibes’s Federal

Prosecution and Qatar” because of (1) “Daibes’s provision of transportation through the district,”

(2) “the sale of kilogram gold bars that Daibes provided,” (3) “an in-person meeting between

Menendez, Daibes, and the Emir of Qatar in New York,” along with an attempted WhatsApp call

from Daibes to Heritage in Manhattan, and (4) “numerous electronic communications by various

professionals” to evaluate the investment in Daibes New Jersey real estate project. See Opp. at

75. Once again, though, the government conducted no essential conduct analysis with respect to

each of the substantive counts. None of these acts can remotely sustain venue.

        First, as to the wire fraud count (Count 13), only the third and fourth acts concern wires

in the District. But none of these communications suffice for venue. The government’s claim

that these communications furthered the bribery scheme is unsupported and illogical. As the

government concedes, the call from Daibes to Heritage while Daibes was in Manhattan was only



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an “attempt”—the call was not connected, and there was no evidence as to the anticipated

substance of the call. See Opp. at 75. Certainly, an attempted call in which no communication

took place cannot not be an overt act in furtherance of a bribery scheme. Nor are the three

communications by “various professionals” in furtherance of the bribery scheme. The three cited

communications (none of which involved Senator Menendez or any co-conspirator) are e-mail

correspondence between Heritage principals in London and attorneys, valuators, and architects in

New York regarding design proposals and valuation of the New Jersey real estate project. See

GX 4F-8; GX 4F-28; GX 4F-31. The government itself conceded that none of these

communications was made in furtherance of any bribery scheme. Indeed, in opposing Rule 15

depositions of Heritage Advisors’ principals, the government argued (and the Court accepted)

that the Heritage principals’ communications with Daibes and reasons for investing with Daibes

were “not material to the issues at trial.” ECF 369 at 14. The government cannot have it both

ways, claiming that those very communications were immaterial to the case when the defense

seeks to depose the witnesses, but then after trial claim that the communications were not just in

furtherance of the bribery scheme, but “essential conduct” underlying it.

       In any event, the government has not pointed to any evidence that this attempted in-

District call or email correspondence involving Heritage were known or reasonably foreseeable

to Senator Menendez. Because they were not. This was a real estate transaction between an

investment firm in London and a company in New Jersey about an investment in a New Jersey

property.

       The government also claims that venue is proper based on “the provision of

transportation through the district,” which was allegedly “related to things of value Daibes

provided . . . Menendez” after he returned from a trip to Egypt and Qatar. See Opp. at 75–76.




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This is pure speculation. The government did not cite evidence of a bribe being given during

that trip, as there is none. In the absence of any actual evidence of a bribe, the equivalent of an

Uber ride through the District falls far short of establishing that any essential conduct

constituting bribery or extortion occurred during this ride from JFK airport to New Jersey, let

alone that it occurred during the portion of the ride that occurred in the Southern District of New

York (as opposed to the Eastern District of New York or District of New Jersey).

       As for the “in-person meeting between Menendez, Daibes, and the Emir of Qatar” in

Manhattan, again there is no evidence that it involved any bribery scheme. The government

intentionally omits that this meeting was far from a private discussion, but in actuality involved a

dinner with multiple attendees (including other Senators) for which the government introduced

no evidence that any bribe or official act were discussed. Indeed, the only evidence of what was

actually discussed was that Senator Corey Booker found the Qatari “insights . . . about

Afghanistan . . . really fascinating and illuminating.” (GX A204-1). Nor did it present any

evidence that there was even a discussion of Menendez’s alleged acts for “the benefit of the

Government of Qatar,” much less that the dinner was an essential conduct element of the charged

offense. The fact that Daibes sent Menendez an image of a luxury watch days later—which

watch was never provided to Menendez, and Menendez never responded to the message—does

not make the government’s speculation that the Manhattan meeting between the Qataris and

numerous Senators (and others) concerned the bribery scheme any more reasonable.

               Venue Was Not Established For The Bribery Conspiracy Charges (Counts
               1–3)

       As explained supra, none of the acts cited by the government suffice to sustain venue for

the substantive counts, and they fail to prove venue for the conspiracy counts, as well. Indeed,

there is no evidence that any of the acts in the Southern District of New York constituted the



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formation of the conspiratorial agreement, or that any were overt acts committed in furtherance

of the conspiracy’s objective. And even assuming, arguendo, that an act in this District was

committed in furtherance of the conspiracy, there is certainly no evidence that it was reasonably

foreseeable to Senator Menendez that any such act would take place in this District. Any finding

to the contrary would be based on rank speculation.

                Venue Is Improper In This District For The Foreign Agent Charges (Counts
                15 and 16)

        The government does not even attempt in its Opposition to defend the sufficiency of

venue for Counts 15 and 16 based on the essential conduct related to the FARA charge. To the

extent the government claims any of the acts it identified for the Hana-Egypt scheme suffice to

demonstrate venue for the FARA charges, this argument fails. The conduct constituting the

offense of acting as a foreign agent is: “engag[ing] . . . in political activities for or in the interests

of such foreign principal,” “act[ing] as public relations counsel, publicity agent, information-

service employee, or political consultant for or in the interests of such foreign principal,” or

“represent[ing] the interests of such foreign principal before any agency or official of the

Government of the United States for or in the interests of such foreign principal.” See 22 U.S.C.

§ 611(c)(1)(i)–(iv). The government has not shown that any such essential conduct for these

counts took place in this district. And none did. All of the political and public relations activity

at the heart of the government’s charges occurred in Washington D.C. or New Jersey.

                The Government Did Not Even Attempt to Justify Venue Over the Count 4
                Obstruction Charge

        Tellingly, the government’s brief does not even address or attempt to justify venue for the

Count 4 charge related to obstruction of justice in connection with the Daibes prosecution. The

government does not point to any essential conduct element occurring in this District. Pursuant

to 18 USC § 1512(i), venue for a §1503 charge is found in either the “district in which the


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official proceeding . . . was intended to be affected or in the district in which the conduct

constituting the alleged offense occurred.” 18 USC § 1512(i). It is undisputed that the allegedly

impacted official proceeding was in New Jersey. Furthermore, the alleged conduct constituting

the obstruction of justice offense were the communications with U.S. Attorney Sellinger, Mr.

Khanna, Esther Suarez, and Michael Soliman—all of which occurred in New Jersey (or

Washington, D.C.). Accordingly, none of the essential conduct underlying this obstruction

charge occurred in this District.

       To the extent the government may suggest that one of the acts cited in its “Counts

Related to Daibes’s Federal Prosecution and Qatar” section provides the basis for venue for

Count 4, this argument fails. None of these acts concern the essential conduct underlying

obstruction. Neither the car ride through Manhattan nor the re-sale of gold bars in Manhattan

were acts committed “for the purpose of accomplishing the objectives” of the obstruction charge.

Tzolov, 642 F.3d at 320. Bribery is not an element of the obstruction charge, and so any conduct

related to alleged bribery cannot constitute essential conduct related to obstruction.

                                                ***

       Finally, separate and apart from the failure to show an essential conduct element for any

of the substantive counts occurred in this District, the government fails to show substantial

contacts in this District sufficient to “ensure that prosecution is fair to [Senator Menendez].” See

United States v. Royer, 549 F.3d 886, 897 (2d Cir. 2008). The government mistakenly claims that

the substantial contacts test is not “relevant” given “the proven overt acts in this district.” Opp.

at 77. But that ignores the need to show substantial contacts supporting each substantive count,

not just the conspiracy counts. Nor does the government’s exceedingly weak obstruction claim

provide substantial contacts with the District sufficient to charge all the substantive offenses




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here. That analysis would be a classic tail-wagging-the-dog analysis, and would permit any

District to justify prosecution for a slew of out-of-district offenses merely because the defendant

and his counsel engaged with the grand jury investigation in the prosecuting district. That cannot

be the law.

         Moreover, the government is mistaken that Senator Menendez has failed to show that

“prosecution in the contested district will result in hardship to him, prejudice him, or undermine

the fairness of his trial.” Opp. at 78. Senator Menendez has detailed the fundamental (and

constitutional) unfairness and prejudice of prosecuting this case in this District. See ECF 137 at

7–8, 17. Indeed, prosecution in the Southern District in New York denied Senator Menendez his

right to be tried by a jury of his New Jersey peers and “subjected [him] to the verdict of mere

strangers,” United States v. Fortenberry, 89 F.4th 702, 712 (9th Cir. 2023), “who may [have]

fe[lt] no common sympathy, or who may [have] even cherish[ed] animosities, or prejudices

against him,” United States v. Palma-Ruedas, 121 F.3d 841, 861 (3d Cir. 1997) (Alito, J.,

dissenting), rev’d sub nom. In the absence of substantial contacts with the District, venue was

plainly improper.

II.      THE COURT SHOULD VACATE THE BRIBERY CONVICTIONS BECAUSE
         THE GOVERNMENT FAILED TO SHOW A PROMISE BY SENATOR
         MENENDEZ TO USE OFFICIAL POWERS IN EXCHANGE FOR A BRIBE

         For all its length and chest-beating, the government’s brief does little to engage with the

actual arguments that the evidence was insufficient under McDonnell v. United States, 579 U.S.

550, 578 (2016). Most fundamentally, the government’s brief still does not demonstrate how the

evidence showed a promise by Senator Menendez to use his official powers in exchange for a

bribe.

         For example, with respect to the alleged scheme involving Attorney General Gurbir

Grewal, it is undisputed that Senator Menendez’s brief call to Grewal only relayed concerns


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about potential selective prosecution without naming any particular matters, without seeking any

particular relief, without making any particular requests or recommendations, without asking that

any action be taken, and without using or threatening to use any official powers of his office.

See Senator Menendez’s Motion and Memorandum of Law in Support Of His Rule 29 Motion

for Judgement of Acquittal and Rule 33 Motion For a New Trial (ECF 592, the “Mot.”) at 9–10;

Trial Tr. 2772:11–13. Although the government claims that this call involved the Senator’s “use

of his official position to exert pressure” or “advise” another public official (Opp. at 25), it fails

to explain how. The fact that Grewal wanted to “shield his team” does not reflect any intended

pressure or influence by Menendez (Opp. at 27), since that evidence only concerns Grewal’s

state of mind, not Senator Menendez’s. Senator Menendez indisputably never attempted to

contact anybody on the actual prosecution team or exert any pressure over them. Nor is there

any evidence of a promise that Senator Menendez would attempt to do so, or even that he knew

of any bribe that could constitute a quid pro quo. Indeed, the evidence on which the government

now relies that shows that Senator Menendez agreed to “look into” the matter involving Uribe’s

so-called daughter alone cannot support the jury’s finding of a quid pro quo.

        Nor is this remotely akin to the Lee case on which the government heavily relies. There,

a city councilor was convicted for agreeing to intervene in a criminal prosecution of a family

member of a prominent local businessperson in exchange for a bribe. United States v. Lee, 919

F.3d 340, 357 (6th Cir. 2019). Specifically, the evidence showed that the city councilor called

“the chief prosecutor for the city of Akron (the boss of the prosecutor in charge of [the

businessperson’s] nephew’s case),” demanded to know why another person had not been

charged, and made a thinly veiled statement pressuring the prosecutor: “I’m not trying to

influence you, you can’t say I’m trying to influence you. I’m trying to make you think. That’s




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all I’m trying to do; just trying to make you think.” 919 F.3d 340 at 357. That is, the defendant

called the direct supervisor of the prosecutor in charge of the case, named a specific case, and

made a statement which, in context, supported the inference of pressure on the chief prosecutor.

Moreover, the chief prosecutor testified that she did feel pressured and worried that “[d]efendant

might go over [the prosecutor’s] head and contact [her] supervisor.” Id.

       Lee is not analogous to the evidence here: Senator Menendez contacted the most senior

official (not the direct supervisor of line prosecutors), did not identify a specific case, did not ask

questions about any particular individual, and did not make any intimidating statement. In

addition, unlike the supervisor in Lee, Attorney General Grewal did not feel any pressure, as he

admitted. Lee therefore supports Senator Menendez’s argument for acquittal: it demonstrates

that the government failed to prove any action or promise by Senator Menendez to pressure

Grewal.

       The same is, in substance, true of the allegations that Senator Menendez sought to

intervene in Daibes’ prosecution: while Menendez is alleged to have mentioned the Daibes’ case

to U.S. Attorney Sellinger, he made no intimidating statements, did not request that any action be

taken, and did not otherwise exert any pressure in support of a particular outcome. Mot. at 11–

12. U.S. Attorney Sellinger acknowledged as much. Moreover, there was no evidence presented

at trial—only pure speculation—showing that Senator Menendez promised Daibes that he would

attempt to intervene in Daibes’ prosecution, let alone an agreement that he would do so in

exchange for something of value. To the contrary, the evidence showed that Senator Menendez

and Daibes had been friends for years, so that even if Menendez sought to assist Daibes with his

criminal case, the inferences are more reasonable that he did so to help his friend, not as part of a

corrupt bargain for Nadine to secretly receive gold bars that she hid in a closet to which Senator




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Menendez did not have access. The government did not prove, by any standard, and certainly

not beyond a reasonable doubt, that any inference of corruption competes with the

straightforward conclusion that Senator Menendez acted only to aid a friend (which is not a

crime).

          Indeed, in an effort to overcome its evidence deficit, the government continues to rely on

sheer speculation to support the convictions that the Senator used or agreed to use his official

powers in exchange for a bribe. The Opposition only further attempts to justify how, time and

again, the government encouraged the jury to make speculative leaps in its closing arguments.

The government’s assertion that all this speculation is simply permissible inference drawn from

the facts does not stand up to scrutiny. The Court should reject the government’s continued

reliance on rank speculation. Just a few examples are identified below.

          First, the government asserts that “[Senator] Menendez was also deeply involved in

Nadine Menendez’s efforts to receive bribe payments” such as payments to her consulting

company from IS EG Halal. Opp. at 17 (emphasis added). The government cites no evidence at

all showing that Senator Menendez believed that these consulting fees were “bribe payments.”

All the government cites is evidence that Senator Menendez helped Nadine set up a consulting

company. Id. The government does not identify a scintilla of evidence that Senator Menendez

knew or understood that any payments Nadine received in connection with her consulting

company were made in exchange for his promise to perform official acts.

          The government’s attempt to fill that critical gap piles on further speculation. The

government contends that “all the defendants,” presumably including Senator Menendez, “were

well aware that Nadine Menendez was expecting to get her paid [by IS EG Halal] for her

previous acts (i.e., her role in arranging Menendez’s actions and promises) and not for any real




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work.” Opp. at 23. The evidence cited in support of this bold proposition, though, is just that

Nadine “expressed incredulity” to Daibes—not to Senator Menendez—about a supposed request

from Wael Hana that Nadine come to the IS EG Halal office every day. Id. As an initial matter,

the evidence at trial showed that Nadine did perform work for IS EG by attempting to set up an

IS EG office in India. The fact that Hana insisted that Nadine work daily, and that he then

terminated Nadine’s employment, only undermines any inference of a bribe. More

fundamentally, the government’s leap that a vague message from Nadine to Daibes supports an

inference that all defendants, including Senator Menendez, knew of a bribery scheme reflects

precisely the speculation—not fair inference—that the government asked the jury to make

throughout. Nothing from that piece of evidence alone or in combination with other evidence

supported a non-speculative, fair inference that Senator Menendez knew payments from IS EG to

Nadine in August 2019 were a quid pro quo for Menendez’s call to Undersecretary McKinney

months earlier (in May 2019). No witness or document actually supports that inference.

       Second, to support the inference that Senator Menendez knew that Uribe was paying for

Nadine’s car—despite all the evidence to the contrary—the government relies on its argument

that “[Senator] Menendez’s willingness to lie to Uribe” about his meeting with N.J. Attorney

General Grewal “was powerful proof that [Senator Menendez] was simply motivated to keep

Uribe happy so Uribe would keep paying for the car.” Opp. at 33. The enormity of this

speculative jump is striking, particularly given Uribe’s admission that he never spoke to Senator

Menendez about the car payments. (It is more likely that Senator Menendez was just trying to

avoid Uribe’s further harassment of Nadine about the meeting). The government’s argument

regarding Senator Menendez’s knowledge of the car payments is not a reasoned, logical

inference from the evidence, just bald speculation. That is not close to enough to sustain a




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conviction beyond a reasonable doubt. See United States v. Jones, 393 F.3d 107, 111 (2d Cir.

2004) (a guilty verdict may not rest on “specious inferences” or speculation).

       Third, turning to the Daibes prosecution, the government asserts that “on or about

October 18, 2021, shortly before Sellinger’s confirmation, Daibes provided at least one

kilogram of gold to Menendez at an in-person visit to Menendez’s house, as evidenced by

multiple contemporaneous electronic records.” Opp. at 38. Once again, there is zero evidence

that Daibes provided Senator Menendez with gold at that time, or that the gold bearing serial

numbers found on Daibes’ inventory had any connection to the criminal case against Daibes

pending in New Jersey. Instead, all the government cites is evidence of Daibes’s delivery of

glazed donuts to the Menendez’s’ residence—which the government conceded was not a code-

word for gold (Trial Tr. at 6385:1–3)—and the fact that later that day, Senator Menendez

searched for information about the price of gold. Id. The record contains no expression of

gratitude, no acknowledgement (contemporaneous or otherwise) that gold was received, and no

promise to act in exchange for the alleged provision of gold. In the absence of any other

evidence of gold giving—no witness, surveillance, or document showing a delivery of gold—it

is just speculation for the government to conclude that Daibes gave Senator Menendez gold on

October 18, 2021. But that’s exactly what the government asked the jury to do.

       The point here is not that these particular examples, by themselves, tank the

government’s case. Rather, the problem is that the government’s case in its entirety is built on

impermissible speculation and strained conclusions that are weak, or weaker, than those

described above. Nor does the government’s excuse—that it must rely on speculation because

bribery offenses are usually conducted in secret—save the case. See Opp. at 21 (arguing that

“bribery is rarely conducted in explicit terms; instead, the language of bribery is one of




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implication and innuendo”). The fact that crimes are often done secretly does not somehow

absolve the government of its obligation to prove, beyond a reasonable doubt, that the crimes

actually happened based on reasonable inferences from the evidence. If anything, by seeking

shelter in the claim that Senator Menendez’s convictions should upheld, despite the lack of

evidence, because it’s just too hard to prove bribery offenses without the benefit of jury

speculation, the government betrays the weakness of the inferences that it asked the jury to draw.

III.   THE CONVICTIONS MUST BE VACATED BECAUSE THEY DEPEND ON
       EVIDENCE THAT VIOLATED SPEECH OR DEBATE CLAUSE
       PROTECTIONS

       The government’s opposition to the Senator’s Speech or Debate clause challenge fail to

engage with two key points: the Speech or Debate Clause inarguably extends to (1) a Senator’s

deliberative conduct, see Gravel v. United States, 408 U.S. 606, 616 (1972) (“[t]he Speech or

Debate Clause was designed to assure a co-equal branch of the government wide freedom of

speech, debate, and deliberation without intimidation or threats from the Executive Branch”)

(emphasis added); and (2) “mentions” of legislative acts, including “signing off” on a sale of

arms, or references to proposed or enacted legislation. United States v. Helstoski, 442 U.S. 477,

490 (1979) (the Clause bars any “mention of a legislative act”).

       First, if the protection on deliberation is to mean anything, it must protect a Senator’s

communications with his closest aides about how that Senator should approach a particular issue

before him in his official capacity. The D.C. Circuit recently confirmed as much in In re Sealed

Case, 80 F.4th 355 (D.C. Cir. 2023), where it held that a representative’s conversations with

others concerning a potential approach to “alleged fraud in the 2020 presidential election” were

“within the heartland of ‘the deliberative and communicative processes’” protected by the

Speech or Debate Clause, even though they did not directly pertain to any particular pending

legislative act. Id. at 372–73 (“a Member’s deliberation about whether to certify a presidential


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election or how to assess information relevant to legislation about federal election procedures are

textbook legislative acts”).

       So, too, is Senator Menendez’s deliberation—both in his private conversations with

staffers and his meetings with officials—about his approach to issues relating to Egypt. As the

government does not contest, Senator Menendez (in his capacity on the Senate Foreign Relations

Committee) was constantly faced with decisions on legislative acts concerning Egypt—including

whether to place a hold upon, or decline to hold, military aid. The government cannot neatly

parse the Senator’s meetings with Egyptian officials and discussions about Egypt-related policy

with his staff, on the one hand, and deliberation about legislative acts concerning Egypt, on the

other hand. Indeed, the testimony regarding Senator Menendez’s in-office meetings with

Egyptian officials confirmed that these were substantive policy meetings without any discussion

of bribes. See Mot. at 21 (describing Sarah Arkin’s testimony regarding meetings with Egyptian

officials for which she was present). This stands in stark contrast to the evidence the government

promised it would adduce at trial, which caused the Court to admit evidence of these meetings.

See, e.g., ECF 180 at 43 (claiming in Opposition to Motions to Dismiss that meetings referenced

in the Indictment “were ones in which Menendez was corrupted by and engaged in corruption

with his co-conspirators”).

       This analysis applies with equal force to Senator Menendez’s meetings and discussions

with U.S. Attorney Sellinger, Soliman, Suarez and others concerning his forthcoming

recommendation to the President for the U.S. Attorney position for the District of New Jersey.

This is all classic fact-finding in service of the Senator’s Constitutional “advice and consent”

role. See Mot. at 23.




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       The government’s response—that just because a defendant says that certain conversations

or meetings are legislative in nature, that does not make it so, Opp. at 85–88—misses the point.

The government’s primary cited authority on this point—Government of Virgin Islands v. Lee—

demonstrates the flaw in the government’s logic. There, a Virgin Islands legislator used public

funds to conduct a purported legislative fact-finding trip to New York and Washington D.C., but

a “subsequent investigation . . . revealed” that the legislator did not actually attend planned

legislative fact-finding meetings, and “failed to report the personal nature of much of his trip.”

775 F.2d 514, 517 (3d Cir. 1985). In that context, the Third Circuit held that it was not required

to accept the legislator’s say-so that, notwithstanding the investigation’s findings, the trip was

subject to legislative immunity. Id. at 526. In this case, by contrast, there is no real debate about

whether Senator Menendez’s meetings with his staffers, Egyptian officials, and candidates for

the U.S. Attorney position (i) in fact occurred, and (ii) included elements of legislative activity.

The government cannot contend that the at-issue meetings and fact-finding activity were pure

shams to disguise secretive corrupt purposes. And the government cites no authority holding

that a court may permit an invasion into a Senator’s legislative fact-finding activity just because

the government asserts—without any supporting evidence—that corrupt conduct took place in

connection with that activity.

       The Second Circuit’s decision in Biaggi is directly on point. See Mot. at 19. There, even

though the government alleged that a Congressman took a trip for corrupt purposes, only the fact

of his travel was admitted into evidence; nothing about what occurred during his meetings on the

trip was admitted, as it was all protected as legislative fact-finding activity. United States v.

Biaggi, 853 F.2d 89, 103 (2d Cir. 1988) (“legislative fact-finding activity conducted by Biaggi

during his Florida trips was protected”). The same conclusion applies here: at most, the




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government could have offered only evidence of where meetings occurred, who attended, and

how long they lasted; but by penetrating into the content and nature of indisputably legislative

meetings and discussions, as occurred at trial, the government trampled upon the Senator’s

Constitutional Speech or Debate privilege. A new trial where all such evidence is excluded is

therefore warranted.

       Second, the government introduced evidence of specific pending or passed legislation—

Senate Resolution 390 (pertaining to Qatar) and S1102 (a Senate bill bearing an attenuated

connection to Egypt)—in blatant violation of the Speech or Debate privilege. The introduction

of this evidence violated the Supreme Court’s plain, simple, and unyielding directive: there is

“no doubt that evidence of a legislative act of a Member may not be introduced by the

Government” at trial. Helstoski, 442 U.S. at 487. The government does not dispute that Senate

Bills (such as S1102) and Senate Resolutions (such as S. Res. 390) are legislative acts. Instead,

it sets forth a bevy of arguments stating that this evidence was offered for purposes other than

proving Senator Menendez’s legislative conduct. But the Supreme Court has been unequivocal

that the purpose for which a legislative act is admitted does not matter: “[t]he Speech or Debate

Clause does not refer to the prosecutor’s purpose in offering evidence . . . the admission of

evidence of legislative acts . . . would subject a Member to being ‘questioned’ in a place other

than the House or Senate, thereby violating the explicit prohibition of the Speech or Debate

Clause.” Helstoski, 442 U.S. at 489–90; see also In re Sealed Case, 80 F.4th at 365 (“legislative

acts may not be introduced into evidence even when the government seeks to punish a Member

for non-legislative acts”). The analysis can and should end there. Senate Resolution 390 and

S1102 are legislative acts. They should not have been “mentioned” at trial. The fact that they

were violated Senator Menendez’s constitutional rights, and vacatur is now required.




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IV.    THE EVIDENCE INTRODUCED WAS INSUFFICIENT AS A MATTER OF
       LAW TO CONVICT SENATOR MENENDEZ ON THE OBSTRUCTION OF
       JUSTICE COUNTS (COUNTS 4, 17, AND 18)

       Nowhere is the quantum of evidence supporting conviction weaker than with respect to

the obstruction of justice counts. Yet despite spilling 149 pages worth of ink in its Opposition,

the government utterly fails to grapple with binding Second Circuit case law fatal to the

government’s arguments and the gaping holes in its evidentiary record.

       For Counts 17 and 18 (obstruction in connection with the SDNY grand jury

investigation), the government’s opposition sets up a straw man—as if Senator Menendez’s

arguments were based on his lack of knowledge whether any false information will “literally be

successfully transmitted to the grand jury.” Opp. at 62. This misstates both Senator Menendez’s

position and binding Second Circuit precedent.

       The law in this Circuit is clear: “§ 1503 requires a specific intent to obstruct a federal

judicial or grand jury proceeding. Accordingly, the conduct offered to evince that intent must be

conduct that is directed at the court or grand jury and that, in the defendant’s mind, has the

‘natural and probable effect’ of obstructing or interfering with that entity.” United States v.

Schwarz, 283 F.3d 76, 109 (2d Cir. 2002) (citing United States v. Aguilar, 515 U.S. 593, 599

(1995)). It is not enough in the Second Circuit for a defendant to make false statements after

becoming aware of a grand jury proceeding, even if those statements are made directly to agents

who may testify before the grand jury. Id. at 109.

       The government ignores this clear law, relying instead on cases interpreting the nexus

requirement for obstruction of justice.7 Opp. at 63. The government distorts Schwarz beyond all



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  The government relies on United States v. Quattrone, 441 F.3d 153 (2006), for the proposition
that “it would be sufficient to show that [the defendant] knew that his actions were likely to
affect the proceeding[.]” See Opp. at 63. Quattrone concerned a dispute regarding jury

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recognition. In discussing the Supreme Court’s holding in Aguilar, Schwarz explained that a

defendant’s “knowledge that there was a pending federal grand jury, and thus his awareness of

the possibility that his deceptions might be put before it, was insufficient to establish the required

specific intent because there was no indication that the [defendant] knew that the investigating

officers interviewing him were going to testify at the grand jury.” Id. at 108 (citing Aguilar, 515

U.S. at 600–1).8 Similarly, the Second Circuit held in Schwarz that “[t]he fatal defect in the

government’s case is that there was no showing that [the defendant] . . . knew that the allegedly

false statements he made to the federal investigators . . . would be conveyed to the federal grand

jury. . . . He may have hoped that they would be provided to the grand jury, and surely there was

that possibility; but there was insufficient evidence to ‘enable a rational trier of fact to conclude

that [the defendant] knew’ that this would happen or that he entertained any expectations on that

score that were based on such knowledge.” Id. at 109 (citing Aguilar, 515 U.S. at 599).



instructions. There, the Second Circuit rejected the defendant’s proposed instruction that “the
jury had to find he had knowledge of the scope and subject matter of the grand jury investigation,
such that he knew what documents or categories of documents had been subpoenaed by the
grand jury and that he corruptly endeavored to obstruct by causing the destruction of documents
he knew to be sought in the investigation.” 441 F.3d at 179 n.25. The government’s quote on
page 63 of its Opposition is taken out of context. The phrase does not reflect a generalized
“likely to affect the proceeding” standard. The complete sentence, from which the government
selectively quoted, makes clear that the Second Circuit’s holding was far more narrow: the
government need not show that the defendant knew precisely which documents the grand jury
subpoena sought. Id. (“Under our analysis, it would be sufficient to show that Quattrone knew
that his actions were likely to affect the proceeding – i.e. that the subpoenas and requests called
for the types of documents he generally knew were in the possession of Tech Group bankers who
received the Endorsement Email.”)
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  The government’s Opposition further muddies the record with cites to out-of-Circuit decisions
at odds with Schwarz—United States v. Sutherland, 921 F.3d 421 (4th Cir. 2019), and United
States v. Fassnacht, 332 F.3d 440 (7th Cir. 2003) —and an Eastern District of New York order
denying bail pending appeal—United States v. Mangano, No. 16 Cr. 540 (JMA), 2022 WL
2872670 (E.D.N.Y. July 20, 2022). Notably, in Mangano, the evidence adduced against the
defendant was far more significant than the alleged “lies to agents and prosecutors during the
two proffer sessions.” Opp. at 64.


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       Here, the government introduced no evidence whatsoever that Senator Menendez

believed that any statement his prior counsel made or slides they presented to the prosecutors

would be provided to the grand jury. Indeed, only prosecutors attended Senator Menendez’s

prior counsel’s presentation. See Tr. 4277–79. Nor did the government introduce any evidence

that the statements made by counsel were even known to Senator Menendez.

       Without evidence from which the jury could reasonably infer that Senator Menendez had

a specific intent to interfere with the grand jury, the government attempts to salvage the

conviction based on a production of two checks made by counsel for Nadine Menendez. While

“one who delivers false documents . . . to the grand jury” may be guilty of obstruction of justice,

Aguilar, 515 U.S. at 601, Senator Menendez and his counsel did not produce these checks to the

grand jury and there is no evidence that Menendez knew these checks were being delivered.

And there is no evidence to support the government’s claim that Senator “Menendez and Nadine

Menendez had worked together to transmit” the checks to the grand jury—just the government’s

own ipse dixit. Opp. at 64. No wonder the government cited no exhibit or trial transcript to

support this rank speculation.

       The evidence in support of Count 4—that Senator Menendez attempted to corruptly

interfere with, obstruct, or impede the Daibes prosecution—is weaker still. The government

suggests that the jury was entitled to infer corrupt intent from (1) Senator Menendez asking U.S.

Attorney Sellinger to “look into” Daibes’ case, and (2) Senator Menendez enlisting Soliman to

request that Sellinger provide “all due process” to Daibes. Opp. at 66. But the government

simply does not grapple with the overwhelming evidence—detailed in Senator Menendez’s Rule

29/33 Motion—that renders any such inference improper. Nor does the government grapple with

the utter lack of evidence of obstructive action. Without exception, witnesses testified that

Senator Menendez never requested that U.S. Attorney Sellinger weigh in to obtain a particular


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outcome for Daibes or give him any preferential treatment. Tr. 3795–96, 4049–51. Sellinger himself

confirmed that Senator Menendez’s requests to him were not inappropriate, did not consist of an

effort to interfere with the Daibes prosecution, and were consistent with Sellinger’s duties as the U.S.

Attorney. Tr. 3795–96, 3804–05. Soliman agreed that Senator Menendez never attempted to

interfere with the Daibes case. Tr. 4050–51. In no way, then, could Senator Menendez’s conduct

“be said to have the ‘natural and probable effect’ of interfering with the due administration of

justice.” Aguilar, 515 U.S. at 601.

        The government’s arguments are wrong on the law and rely on rank speculation at odds

with overwhelming exculpatory evidence. Senator Menendez’s obstruction convictions must be

vacated.

                                           CONCLUSION

        For the foregoing reasons, this Court should grant defendant Robert Menendez’s motion

pursuant to Federal Rules of Criminal Procedure 29(c) and/or 33.

Dated: September 30, 2024                            Respectfully submitted,



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                                                  28
